       Case 7:20-cv-46474-MCR-GRJ Document 4 Filed 04/16/20 Page 1 of 1




                             UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF FLORIDA

                                    PENSACOLA DISTRICT

IN RE: 3m COMBAT ARMS                                 Case No. 3:19-md-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

                                                      Hon. Judge M. Casey Rodgers
This Document Relates to                              Magistrate Judge Gary R. Jones

Stephen Blackburn, 7:20-cv-46474


TO:    The Clerk of court and all parties of record


I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for Plaintiff, Stephen Blackburn.



                                        Respectfully Submitted,
Date: April 16, 2020                    H ARE , W YNN , N EWELL & N EWTON , LLP
                                        By:        /s/ Jason W. Earley
                                           Jason W. Earley (pro hac vice)
                                           ALBN 3427Q10M
                                           HARE, WYNN, NEWELL & NEWTON, LLP
                                           2025 Third Avenue North, 8th Floor
                                           Birmingham, AL 35203
                                           jason@hwnn.com
                                           Phone: 205-328-5330
                                           Facsimile: 205-324-2165
                                           Attorney for Plaintiff Stephen Blackburn


                                 CERTIFICATE OF SERVICE

The undersigned, an attorney, certifies that the foregoing Motion to Appear Pro Hac Vice was
filed electronically with the Clerk of Court using the CM/ECF system on April 16, 2020 which
will serve same electronically on all counsel of record.


                                              /s/ Jason W. Earley
